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         EXHIBIT 159
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                                                                                        Page 204
                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION
        _______________________________________
        RICHARD KADREY, ET AL.,                                         )
                      INDIVIDUAL AND REPRESENTATIVE                     )
                                                   PLAINTIFFS, ) LEAD CASE NO.
                               v.                                       ) 3:23-cv-03417-VC
        META PLATFORMS, INC.,                                           )
                                                     DEFENDANT. )
        _______________________________________)


             * * *    H I G H L Y        C O N F I D E N T I A L                    * * *
        * * *        A T T O R N E Y S '             E Y E S        O N L Y         * * *


                     VIDEO-RECORDED 30(B)(6) DEPOSITION OF
                                    MICHAEL CLARK
                                     VOLUME III
                        WEDNESDAY, NOVEMBER 20, 2024
                          SAN FRANCISCO, CALIFORNIA
                                    9:38 A.M. PST


                REPORTED BY AUDRA E. CRAMER, CSR NO. 9901
        ______________________________________________________
                               DIGITAL EVIDENCE GROUP
                          1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                     (202) 232-0646



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                                                                                        Page 293
   1     BY MS. POUEYMIROU:

   2           Q.      So this document, this page 89800,

   3     shows Meta removing copyright information,

   4     including data publication, author, ISBN

   5     numbers, disclaimers about not selling, sharing

   6     or giving way because it is an infringement.

   7                   And Meta achieved this via a script

   8     that Mr. Bashlykov created?

   9                   MS. HARTNETT:              Object to the form.

 10                    THE WITNESS:             Mr. Bashlykov wrote a

 11      script with the logic that is outlined on Bates

 12      page 89798 and continues on 89799 to remove and

 13      clean up text that matched this description,

 14      which would include the items that you spoke

 15      about.

 16      BY MS. POUEYMIROU:

 17            Q.      And does Meta still have this script?

 18            A.      I do not know.               I walked through with

 19      Mr. Bashlykov what the logic of the script was.

 20      I did not look at the actual script.

 21            Q.      Do you know whether this script was

 22      used with Books3?



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                                                                                        Page 294
   1                   MS. HARTNETT:              Object to the form.

   2                   THE WITNESS:             This script, in talking

   3     to Mr. Bashlykov, was specific to LibGen.

   4     BY MS. POUEYMIROU:

   5           Q.      Do you know whether Books3 also had its

   6     copyright information stripped from it?

   7                   MS. HARTNETT:              Objection to the form of

   8     the question.

   9                   THE WITNESS:             I do not know.

 10      BY MS. POUEYMIROU:

 11            Q.      Do you know whether Meta used this

 12      script on Project Gutenberg?

 13            A.      Project Gutenberg was processed at the

 14      same time as Books3.                 This script was written

 15      specific to LibGen and to this criteria then,

 16      which would postdate the processing of

 17      Gutenberg.

 18            Q.      And who told Mr. Bashlykov to create

 19      this script?

 20                    MS. HARTNETT:              Object to the form.

 21                    THE WITNESS:             The logic in this script

 22      is part of making the data usable and looking



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                                                                                        Page 295
   1     for traits of the data that make the data usable

   2     for training.           And so as part of the cleanup

   3     that they were doing in the data to get ready

   4     for the data pipeline, they wrote this in order

   5     to make the data usable and not have repetitive

   6     patterns and not have extra line spaces and not

   7     have things that would decrease the quality of

   8     the model.

   9     BY MS. POUEYMIROU:

 10            Q.      By removing the copyright information

 11      from the training data, that means that there is

 12      no concern that -- a memorization concern or a

 13      regurgitation concern; is that correct?

 14                    MS. HARTNETT:              Objection to the form

 15      and to the vagueness of "copyright information."

 16                    THE WITNESS:             Could you be more

 17      specific?

 18      BY MS. POUEYMIROU:

 19            Q.      Yes.      So memorization, as we've

 20      discussed, you have the regurgitation of

 21      training data.

 22                    If you haven't trained on copyright



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                                                                                        Page 296
   1     information, there's no risk of regurgitating

   2     that information; is that correct?

   3                   MS. HARTNETT:              Objection to the form.

   4                   THE WITNESS:             Is that a hypothetical,

   5     or is that specific --

   6     BY MS. POUEYMIROU:

   7           Q.      No.     I'm asking:             Can you regurgitate

   8     data that you have not trained on?

   9                   MS. HARTNETT:              Objection to the form.

 10                    THE WITNESS:             Potentially.              Like, any

 11      phrase could potentially be -- could you be more

 12      specific?        I'm --

 13      BY MS. POUEYMIROU:

 14            Q.      So Meta removed files that

 15      self-identified as pirated from its training

 16      data; is that correct?

 17            A.      As of the training time of LLaMA 2,

 18      items that were self-identified as pirated or

 19      stolen were removed, yes.

 20            Q.      And when we discussed that last week,

 21      the removal of pirated material was also

 22      connected to a concern that it would be



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   1    STATE OF CALIFORNIA                         )

   2    COUNTY OF LOS ANGELES                       )    SS.

   3               I, AUDRA E. CRAMER, CSR No. 9901, in and for the

   4    State of California, do hereby certify:

   5               That, prior to being examined, the witness named

   6    in the foregoing deposition was by me duly sworn to

   7    testify the truth, the whole truth and nothing but the

   8    truth;

   9               That said deposition was taken down by me in

 10     shorthand at the time and place therein named, and

 11     thereafter reduced to typewriting under my direction,

 12     and the same is a true, correct and complete transcript

 13     of said proceedings;

 14                I further certify that I am not interested in the

 15     event of the action.

 16                Witness my hand this 22 day of November,

 17     2024.

 18

 19                                              _____________________

 20                                              Certified Shorthand

 21                                              Reporter for the

 22                                              State of California



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